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                        EXHIBIT A
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18­1 (Rev. 08­15­2017)
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                                                                       OTD DFAU ­ CART Program
                         Federal Bureau of Investigation                     Pocatello, Idaho Lab
                         Digital Evidence Laboratory                         3975 Pole Line Road
                                                                              Pocatello, ID 83201




                                            REPORT OF EXAMINATION


 To:         Criminal Investigative Division                Date:             February 24, 2022
             SA E. Heath Graves                                               050A­HQ­3079081
                                                            Case ID:
             FBI New York
             SA Kelly Maguire                               Request No.: HQP190708001


Request Date:                July 8, 2019

                             Serial 89
Ref. No:
                             50E­NY­3111837

Title:                       (U) BACKPAGE ­ Data Analysis


Date item(s) received: October 7, 2019


Item(s) submitted:
  HQP_001982: Remote access to Dell server R820 service tag 5Z8B642, HQP001982. (Examined)
  HQP_001984: Remote access to Dell server R820 service tag 1FSP9X1, HQP001984. (Examined)

 Summary:

 On December 6th, 2018, Crimes Against Children Human Trafficking Unit (CACHTU) assumed
 responsibility to assist the Phoenix Division with the nationwide aspect of sharing data collected from
 the servers seized from Backpage.

 On July 8th,, MAPA Nicole Metviner submitted a request on behalf of SA Kelly Maguire, FBI New
 York, for the extraction of data as identified in the submitted Electronic Communication. Data should
 be extracted and provided to the requestor.

 Specifically, SA Maguire requested a search for the following backpage records:
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                                                                          Since January 16, 2007



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     Phone numbers:
         3475231379
         3472460968

On January 11, 2022 SA Maguire requested Ad recreations be completed for the extracted ads located
from the requested search.

The Backpage.com servers were seized in 2018. Data from the servers (HQP_001982 and
HQP_001984) were subsequently made available via an internal FBI network. Remote connectivity was
established. All searches were conducted via remote connectivity.

As requested, FE Matthew Frost conducted the requested searches, which subsequently identified
associated data. The associated Backpage data was extracted to include: ad data, uploaded images,
user account data, and other associated ad related data. All extracted results were burned to optical
media labeled Results Copy HQP002538. A master copy was also produced and labeled
HQP002539.

For Ad recreations, remote connectivity was established and all databases were extracted from
HQP_001982 and all images were extracted from HQP_001984. Extracted databases were then added
to a standalone SQL MariaDB instance, and images were saved to a network storage device.

Due to the nature of the extraction from a live server, write protection is software enabled by user
access control. The user account used for extractions only has SQL Select options granted.
Connecting to the backpage.com databases, on the standalone system, the requested searches were
completed, which subsequently identified associated data. The associated Backpage data, required to
generate Ad recreations, was extracted to include: ad data, uploaded images, user account data, and
other associated ad related data. All Ad recreations and associated data were burned to optical media
Results Copy labeled HQP003099. One copy of HQP003099 was also produced and labeled:
HQP003099 Copy 1. A Master Copy was also produced and labeled HQP003100.

A subset of ads were identified and recreations were updated to correct the "Created Data" field in the
admin section of the Ad recreation. Those ad recreations, along with the data required to produce the
ad recreations, was copied to optical medial labeled, Results Copy HQP003134. Once copy of
HQP003134 was also produced and labeled HQP003134 Copy 1. A Master Copy was also produced
and labeled HQP003135.




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Details of Examination:
The dates of this examination were October 07, 2019 through February 24, 2022.

ITS/FE Matthew Frost completed the following:

Request for service and legal authority were reviewed.

Access to the data from the remote network servers HQP_001982 and HQP_001984, was made
available via an internal FBI network server.
Due to the nature of the extraction from a live evidence server, no write protection was able to be
deployed.
Backpage records were accessed via computer network and searches were conducted for the
requested data.

The following searches were conducted for the Backpage.com records:

Phone numbers:

     3475231379
     3472460968

All available associated Backpage data was extracted to include: ad data, uploaded images, user
account data, and other associated ad related data.

The extracted data was copied to optical media Results Copy HQP002538.
A master copy was also produced and labeled HQP002539.

Message Digest 5 (MD5) values were generated and verified for the extracted data and also saved to
the results copy.

Pursuant to the requested ad recreations, the following actions were completed.

Remote connectivity was established and all databases were extracted from HQP001982 and all images
were extracted from HQP001984. Extracted databases were then added to a standalone SQL
MariaDB instance. All images were copied to network storage.

Due to the nature of the extraction from a live server, write protection is software enabled by user
access control. The user account used for extractions only has SQL Select options granted. The
network share containing the images was mounted read only.

Connecting to the backpage.com databases on the standalone system searches were conducted to
identify data needed for Ad recreations. The associated Backpage data was extracted to include: ad
data, uploaded images, user account data, and other associated ad related data. Ad recreations were

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completed.

The extracted data and Ad recreations were copied to optical media Results Copy HQP003099. One
copy of HQP003099 was also produced and labeled: HQP003099 Copy 1.

A Master Copy was also produced and labeled HQP003100.

Message Digest 5 (MD5) values were generated and verified for the extracted data and also saved to
the results copy.

Ad recreations were completed for the following Post IDs for NYC_backpage correcting the "Created
Data" field in the admin section of the Ad recreations:

     57517969
     57688246
     57716357
     59060114
     59225660
     59226201
     59269217
     59381896
     60736045
     60739271
     60929995
     60968944
     61041578
     61045562
     61640999
     62047408
     62372773
     62435543
     62695750
     63187843
     63189060
     63190324
     63193332
     63746433
     63746545
     100638353
     108276858
     116391483
     123138673

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     123398568
     133038217
     133050997
     134240802
     134246652
     139874182
     143917692
     149146487
     149179112
     160062742
     160993747
     161600917
     163220017
     164737602
     164744892
     165865802

All extracted data was hashed:

All extracted results were burned to optical media Results Copy labeled HQP003134. One copy of
HQP003134 was also produced and labeled HQP003134 Copy 1.

A master copy was also produced and labeled HQP003135.

Post examination hash verification was completed, all hashes matched.

Derivative Evidence/Copies:
     HQP002538:            CD­R, Make: Staples, Model: CD­R 52X 700MB, SN: N/A, Agency Item
                           Number: N/A, Desc.: Results Copy. Extracted backpage records.
     HQP002539:            CD­R, Make: Staples, Model: CD­R 52X 700MB, SN: N/A, Agency Item
                           Number: N/A, Desc.: Master Copy. Copy of HQP002538.
     HQP003099:            CD­R, Make: Falcon Media Pro, Model: CD­R, SN: N/A, Agency Item
                           Number: N/A, Desc.: Results Copy. Extracted Backpage data. With one
                           copy of HQP003099 labeled: HQP003099 Copy 1.
     HQP003100:            CD­R, Make: Falcon Media Pro, Model: CD­R, SN: N/A, Agency Item
                           Number: N/A, Desc.: Master Copy. Copy of HQP003099.
     HQP003134:            CD­R, Make: Falcon Media Pro, Model: CD­R, SN: N/A, Agency Item
                           Number: N/A, Desc.: Results Copy. Extracted backpage data with Ad
                           recreations, with one copy labeled, HQP003134 Copy 1.

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     HQP003135:            CD­R, Make: Falcon Media Pro, Model: CD­R, SN: N/A, Agency Item
                           Number: N/A, Desc.: Master Copy. Copy of HQP003135.


Disposition of Items:

Derivative evidence item HQP002538, HQP002539, HQP003099, HQP003099 Copy 1, HQP003100,
HQP003134, HQP003134 Copy 1, and HQP003135 were shipped to FBI New York, care of SA Kelly
Maguire, via FedEx.

Examination notes and all other administrative documents were placed in a separate Digital Evidence
Laboratory (DEL) file jacket and are being retained in the DEL file room, Quantico, Virginia.

No original evidence items were submitted with this request. Remote access was terminated upon
completion of the request.




                                         Examiner:        Digital signature on file
                                                     Matthew B. Frost
                                                     Operational Technology Division
                                                     Computer Analysis Response Team




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